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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                    NO. 4:14CR00187 JLH

CAMERON ZAYRELL ARNOLD,
KEYONTAE JOHNSON, and
DEVONTAE KESHUN PIGGEE                                                               DEFENDANTS

                                              ORDER

        This matter is currently set for trial the week of April 6, 2015. The Court has determined that

the trial date should be continued for one week due to another case set for trial that week.

        IT IS HEREBY ORDERED that the trial of this matter is rescheduled to begin at 9:15 a.m.,

on MONDAY, APRIL 13, 2015, in Courtroom #4-D, Richard Sheppard Arnold United States

Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas. Counsel are to be present thirty

minutes prior to trial.

        Jury instructions should be electronically submitted to the Court in WordPerfect format to

jlhchambers@ared.uscourts.gov by April 3, 2015.

        IT IS SO ORDERED this 23rd day of March, 2015.



                                                       _________________________________
                                                       J. LEON HOLMES
                                                       UNITED STATES DISTRICT JUDGE
